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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                     )
                                                              )                8:05CR163
                          Plaintiff,                          )
                                                              )
        vs.                                                   )                 ORDER
                                                              )
JAZMIN CERNA,                                                 )
DANIEL CERNA,                                                 )
ADAM SALINAS TREVINO,                                         )
DANIEL LEE WALKER and                                         )
CLEO JO WALKER,                                               )
                                                              )
                          Defendants.                         )


        This matter is before the court on the motion for an extension of time by defendant Cleo Jo Walker
(Filing No. 41). The defendant seeks an extension of time of thirty days in which to file pretrial motions pursuant
to paragraph 3 of the progression order (Filing No. 27). Upon consideration, the motion will be granted and the
tentative evidentiary hearing scheduled for June 2, 2005, will be canceled.


        IT IS ORDERED:

        1.       Defendant Cleo Jo Walker’s motion for an extension of time (Filing No. 41) is granted.

Defendant Cleo Jo Walker is given until on or before June 24, 2005, in which to file pretrial motions pursuant

to the progression order (Filing No. 27). The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as a result

of the granting of the motion, i.e., the time between May 24, 2005 and June 24, 2005, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

defendant's counsel requires additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional time might result
in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

        2.       The tentative setting of an evidentiary hearing for 9:00 a.m. on June 2, 2005, is canceled and

will be re-scheduled in the event any pretrial motions are filed in accordance with this order.


        DATED this 24th day of May, 2005.
                                                              BY THE COURT:
                                                              s/ Thomas D. Thalken
                                                              United States Magistrate Judge
